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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                             CR 17–15–BU–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 SHANNON LEAVITT,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on September 26, 2017. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Shannon Leavitt’s guilty plea

after Leavitt appeared before him pursuant to Federal Rule of Criminal Procedure

11, and entered a plea of guilty to one count of conspiring to possess, with the

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intent to distribute, methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and

846 (Count I), as set forth in the Indictment. In exchange for Defendant’s plea, the

United States has agreed to dismiss Count II of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

34), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Shannon Leavitt’s motion to change

plea (Doc. 24) is GRANTED and Shannon Leavitt is adjudged guilty as charged in

Count I of the Indictment.

      DATED this 13th day of October, 2017.




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